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                         IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF OREGON

                                      PORTLAND DIVISION



LAWRENCE P. CIUFFITELLI, for himself                   Case No. 3:16-cv-00580-AC
and as Trustee of CIUFFITELLI
REVOCABLE TRUST; GREG and ANGELA
JULIEN; JAMES and SUSAN                                DECLARATION OF HON. DANIEL
MACDONALD, as Co-Trustees of the                       WEINSTEIN (RET.) IN SUPPORT OF
MACDONALD FAMILY TRUST; R.F.                           PLAINTIFFS' UNOPPOSED MOTION
MACDONALD CO.; ANDREW NOWAK,                           FOR PRELIMINARY APPROVAL OF
for himself and as Trustee of the ANDREW               GLOBAL SETTLEMENT
NOWAK REVOCABLE LIVING TRUST
U/A 2/20/2002; WILLIAM RAMSTEIN; and



                                STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
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GREG WARRICK, for himself and, with
SUSAN WARRICK, as Co-Trustees of the
WARRICK FAMILY TRUST, individually
and on behalf of all others similarly situated,

               Plaintiffs,

   V.

DELOITTE & TOUCHE LLP;
EISNERAMPER LLP; SIDLEY AUSTIN
LLP; TONKON TORP LLP; TD
AMERITRADE, INC.; INTEGRITY BANK &
TRUST; and DUFF & PHELPS, LLC,

               Defendants.


        I, Daniel Weinstein, declare under penalty of perjury that the following statements are

true and co1Tect.

        1.     I am a retired judge and full-time mediator with JAMS Mediation, Arbitration and

ADR Services ("JAMS"). I have personal knowledge of the facts set forth herein, and if called

as a witness, could and would testify competently thereto.

        2.     I have extensive experience as a mediator of complex civil disputes. I have

successfully mediated numerous high stakes securities cases, including cases involving Enron,

Homestore, Qwest, Adelphia, Dynegy, Providian, Clarent and other major NYSE and NASDAQ

corporations. Since 1997, I have mediated cases with aggregate values of billions of dollars

annually.

        3.     I submit this declaration in my capacity as the lead mediator assisting Plaintiffs

and Defendant Deloitte & Touche, EisnerAmper, Sidley Austin, TD Ameritrade and Duff &

Phelps in the above-captioned action. Because of the number of parties, including insurance

companies, involved in the mediation, I was assisted in the mediation by David Carden, Esq.

PAGE 1 - DECLARATION OF HON. DANIEL WEINSTEIN (RET.) IN SUPPORT OF
         PLAINTIFFS' UNOPPOSED MOTION FOR PRELIMINARY APPROVAL
         OF GLOBAL SETTLEMENT
                                   STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
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       4.      Prior to the mediation, I spoke by telephone to one or more representatives of

each party.

       5.      From May 20-23, 2019, Mr. Carden and I met with representatives of all parties

for a four-day, in-person, confidential mediation session to assist in their efforts to reach a

settlement.

       6.      I believe that counsel for all parties are experienced and highly competent, and

were well informed about the factual and legal issues surrounding Plaintiffs' claims against

Defendants.

       7.      The parties spent four days in adversarial and arm's length negotiations. I saw no

evidence of any collusion or fraud between the parties in their negotiations. The parties did not

reach a settlement during the four-day, in-person mediation session.

       8.      Between May 24 and June 5, 2019, Mr. Carden and I continued our mediation

efforts by telephone with the parties. On June 5, 2019, the parties reached a settlement.

However, there were several non-monetary terms that required additional negotiation between

the parties. The parties agreed that Mr. Carden and I would make a binding resolution of any of

those non-monetary terms that the parties could not resolve through negotiations. On June 21,

2019, Mr. Carden and I issued binding resolutions of several non-monetary terms that the parties

were unable to resolve through negotiations.

II

II

II




PAGE 2 -      DECLARATION OF BON. DANIEL WEINSTEIN (RET,) IN SUPPORT OF
              PLAINTIFFS' UNOPPOSED MOTION FOR PRELIMINARY APPROVAL
              OF GLOBAL SETTLEMENT
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       I certify under penalty of perjury under the laws of the United States that the foregoing is

true and correct.


       DATED this    Jfa; of June, 2019.

                                       Hon. Daniel H. Weinstein (Ret.)




PAGE 3 - DECLARATION OF HON. DANIEL WEINSTEIN (RET.) IN SUPPORT OF
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